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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JACK WESLEY COOPER,

                     Plaintiff,
                                                       No. 17 CV 773
         v.
                                                       Judge Manish S. Shah
RETRIEVAL-MASTERS CREDITORS
BUREAU, INC.,

                     Defendant.

                                          ORDER

       Defendant’s motions for sanctions, [31] and [33], are granted in part, denied in
part. The court sanctions attorneys Celetha Chatman and Michael Wood, and the
firm Community Lawyers Group, Ltd., jointly and severally. By August 28, 2018,
plaintiff’s counsel shall pay defendant $7,888.13.

                                        STATEMENT

        Plaintiff’s counsel, Celetha Chatman and Michael Wood of the law firm
Community Lawyers Group, Ltd., should not have filed this lawsuit—the second one
they filed on behalf of Jack Wesley Cooper against Retrieval-Masters Creditors
Bureau. In the first case, counsel alleged (and proved) that defendant violated the
Fair Debt Collection Practices Act. See Cooper v. Retrieval-Masters Creditors Bureau,
Inc., No. 16 C 2827, 2017 WL 2404952 (N.D. Ill. June 2, 2017) (Cooper I). As that case
moved along, counsel decided to bring a second FDCPA claim against defendant.
Instead of seeking to amend the complaint in Cooper I to add this new claim, counsel
filed a second lawsuit. They argued that the basis for the second claim was a different
transaction than the one at issue in the first case. It wasn’t. This was claim splitting
and I dismissed the second complaint with prejudice. [29] at 2–3 (citing Barr v. Bd. of
Trustees of W. Illinois Univ., 796 F.3d 837, 840 (7th Cir. 2015) (a plaintiff cannot
evade preclusion by identifying a slightly different cause of action between the same
parties arising from the same events)).1 Cooper did not appeal the dismissal.




1 Bracketed numbers refer to entries on the district court docket and page numbers are
taken from the CM/ECF header placed at the top of filings, except in the case of deposition or
trial transcripts, where the court uses the pagination from each transcript.
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        On top of the claim-splitting problem, this second lawsuit had a factual
problem. The complaint alleged that Cooper entered his login credentials into a
website to view his options for paying off the debt he owed and that website contained
a misleading communication from defendant. [1] ¶¶ 14–25. In his deposition and at
trial in Cooper I, Cooper testified that he never paid bills online, was not in a position
to make any payments, did not go to websites to look into options for payment, and
never checked the status of his bills online. [33-1] at 34:5–15; [33-2] at 18:4–17, 25:7–
22. When confronted with the inconsistency between the allegations of the second
complaint and his testimony, Cooper said he checked the website with the help of his
attorneys. [33-2] at 25:23–26:6.

       Defendant argues that claim splitting was unreasonable and the factual basis
for the second suit was false, and asks for its attorney’s fees and costs. Federal Rule
of Civil Procedure 11 authorizes sanctions if an attorney presented to the court a
pleading or other paper for any improper purpose or containing factual contentions
without evidentiary support. Fed. R. Civ. P. 11(b)(1), (b)(3), (c). Under 28 U.S.C.
§ 1927, an attorney who vexatiously and unreasonably multiplies proceedings can be
ordered to pay the excess fees and costs incurred because of the conduct. And the
FDCPA similarly authorizes a court to award fees on a finding that an action was
brought in bad faith and for the purpose of harassment. 15 U.S.C. § 1692k(a)(3). Rule
11 establishes an objective test, and a court should determine if there has been a
callous disregard for governing law or the procedures of the court. U.S. Bank Nat.
Ass’n, N.D. v. Sullivan-Moore, 406 F.3d 465, 470 (7th Cir. 2005); Harlyn Sales Corp.
Profit Sharing Plan v. Kemper Fin. Servs., Inc., 9 F.3d 1263, 1269 (7th Cir. 1993).
Subjective bad faith is sufficient to support § 1927 sanctions, but such a finding is not
necessary; objective bad faith will also support a sanctions award. Hunt v. Moore
Bros., Inc., 861 F.3d 655, 659 (7th Cir. 2017).2




2 Defendant filed its motion about seventy days after the entry of judgment. Federal Rule of
Civil Procedure 54 says that a motion for attorney’s fees must be filed no later than fourteen
days after judgment. Fed. R. Civ. P. 54(d)(2)(B). The motion for fees under § 1692k was
untimely, and I deny it on those grounds. But Rule 11 and § 1927 motions may be filed later.
See Fed. R. Civ. P. 54(d)(2)(E). Parties must request Rule 11 sanctions as soon as practicable,
and ninety days after final judgment is the “outer parameter” for filing a Rule 11 motion for
sanctions. In re Dairy Farmers of Am., Inc., 80 F.Supp.3d 838, 858 (N.D. Ill. 2015). Defendant
put plaintiff’s counsel on notice of its sanctions request in July 2017, before judgment and
while the motion to dismiss was pending. [45-5]. The damages trial and Cooper’s testimony
in Cooper I took place in September 2017. [33-2] at 2. Plaintiff’s motion for attorney’s fees in
the first case was filed in November 2017. See [43] at 6. The Rule 11 and § 1927 motions here
were filed within a reasonable time, because it made sense for defendant to assess the fees
plaintiff requested in the first case to decide whether to pursue sanctions.
                                               2
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        The complaint was misleading because it suggested that Cooper checked his
account online to investigate his payment options. That was not true, and Wood and
Chatman knew it because they—not Cooper—checked the website and discovered a
potential FDCPA violation. For Chatman and Wood to draft a misleading complaint
is galling because they regularly sue debt collectors for their misleading statements.
But the false allegation was not material. The point of the complaint was not that
Cooper personally checked the website for some particular purpose, but that
defendant suggested a fee that it was not permitted to charge. Whether Cooper or his
lawyers discovered the potential FDCPA violation—the merits of which were not
tested—doesn’t matter. So, while I am troubled that counsel drafted a misleading
complaint, that alone would not be enough to justify sanctions.3

       But by filing a complaint with misleading allegations that should not have
been filed in the first place because it split the claim, counsel crossed the line. There
is a pattern of Wood and Chatman filing multiple lawsuits on behalf of the same
plaintiff against the same defendant, in relatively short sequence. See Carchi v.
Midland Funding, LLC, 17 C 4897 (N.D. Ill.) (filed June 30, 2017); Carchi v. Midland
Funding, LLC, 17 C 5446 (N.D. Ill.) (filed July 25, 2017); Carchi v. Portfolio Recovery
Assocs., LLC, 17 C 5900 (N.D. Ill.) (filed August 11, 2017); Carchi v. Portfolio
Recovery Assos., LLC, 17 C 6867 (N.D. Ill.) (filed September 22, 2017); Carchi v.
Portfolio Recovery Assocs., LLC, 17 C 7607 (N.D. Ill.) (filed October 20, 2017); Carchi
v. Portfolio Recovery Assocs., LLC, 18 C 0098 (N.D. Ill.) (filed January 5, 2018);
Carchi v. Portfolio Recovery Assocs., LLC, 18 C 2067 (N.D. Ill.) (filed March 21, 2018);
Horia v. Nationwide Credit and Collection, Inc., 17 C 6103 (N.D. Ill.) (filed August 22,
2017); Horia v. Nationwide Credit and Collection, Inc., 17 C 8355 (filed November 17,
2017); see also id., 2018 WL 3630125 (N.D. Ill. July 31, 2018) (dismissing second suit
for improper claim splitting). In these cases, counsel did not disclose that the later
cases were related to earlier ones—leading to multiple suits filed with multiple
judges. These disputes should have been resolved in one case. Counsel has not
suggested a proper purpose for filing multiple cases when one would suffice, and
defendants plausibly argue that the only purpose is to generate multiple statutory
damages awards and fee petitions. See Horia, 2018 WL 3630125, at *3 (“the present
action appears to be an attempt by Horia to circumvent the FDCPA statutory
damages cap via impermissible claim-splitting.”). 4 This is an unreasonable
duplication of litigation that drains judicial resources. The pattern demonstrates a

3Rule 11 is a tool that must be used with utmost care and caution. See FDIC v. Tekfen Const.
and Installation Co., Inc., 847 F.2d 440, 444 (7th Cir. 1988).
4 Counsel says that a continuing investigation led to Cooper’s second suit against defendant
here, but as I concluded when dismissing the complaint, the convenience-fee claim existed at
the time of Cooper I, and there was no good reason for counsel to not investigate Cooper’s
available FDCPA claims at the time of filing the first complaint. [29] at 2–3.
                                             3
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callous disregard for the prohibition on claim splitting and the court’s procedures on
identifying related cases.5

       Plaintiff’s counsel should have filed one case to address defendant’s conduct,
and should have been scrupulously honest in drafting the allegations of the
complaint. Under these circumstances, Rule 11 and § 1927 permit me to award the
fees defendant incurred in defending this case. But that punishment does not fit the
crime, and “[i]n general the severity of a sanction should be proportioned to the
gravity of the offense.” Allen v. Chi. Transit Auth., 317 F.3d 696, 703 (7th Cir. 2003).
To deter future claim splitting and misleading complaints by Chatman and Wood, it
is sufficient and appropriate to take away the benefit they received from Cooper
I—their fees and costs. Judge Feinerman awarded $7,888.13 in Case No. 16 CV 2827.
I sanction plaintiff’s counsel that same amount for their conduct in this case, payable
to defendant.


ENTER:


Date: August 14, 2018
                                                  Manish S. Shah
                                                  U.S. District Judge




5 During a sidebar at the Cooper I damages trial, Judge Feinerman commented that Cooper
had been caught in a lie and therefore questions about the second lawsuit were permissible.
[33-2] at 23:1–21. Chatman responded, “Okay. Fine. This is ridiculous.” Id. Chatman’s
apparent contempt for the court during Cooper I adds to the pattern of counsel’s disregard for
court protocol.
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